         Case 1:20-cv-07311-LAK Document 273 Filed 01/19/24 Page 1 of 4




                                                          DIRECT DIAL      212.763.0883
                                                          DIRECT EMAIL     rkaplan@kaplanhecker.com



                                                                        January 19, 2024


VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                       Re:    Carroll v. Trump, 20 Civ. 7311 (LAK)

Dear Judge Kaplan:

        During her opening argument on January 16, 2024, defense counsel Ms. Habba repeatedly
claimed that Ms. Carroll had a legal duty to mitigate or minimize the damages that resulted from
Mr. Trump’s defamatory statements. Tr. at 58:19-20 (“Duty to minimize the effects. It’s not my
client’s duty; that’s hers.”). Ms. Habba further argued that Ms. Carroll violated that supposed duty
by publicly stating Mr. Trump’s claims were false. For example, Ms. Habba asserted as follows:

               I need you as a jury to remember this — and this is very important
               — Ms. Carroll had a duty to minimize the effect of the statements,
               not exacerbate them, as I will show she did when she ignored that
               duty and did the exact opposite and still does today.

Id. at 53:22-54:1. Ms. Habba later echoed that point: “Her alleged emotional harm didn’t stop her
from going back on TV again and again and again. Duty to mitigate.” Id. at 59:9-11. Ms. Habba
even showed the jury a PowerPoint that made prominent and express reference to such a duty.

       Following these arguments, on January 17, 2024, Your Honor directed the parties to
address four questions raised by the Court. Our answers are set forth more fully below. In sum,
however, we believe that: (1) such a defense is not applicable to a defamation claim under binding
New York precedent; (2) even if it were a valid affirmative defense (which it is not), Defendant
Donald J. Trump failed to plead it and thus waived it; and (3) even if such a valid affirmative
defense existed, and even if he had not waived it, Mr. Trump would bear the burden of proof.

       Because no such “mitigation of damages” defense to defamation exists under New York
law, and (alternatively) because Mr. Trump waived any such argument, we respectfully request
         Case 1:20-cv-07311-LAK Document 273 Filed 01/19/24 Page 2 of 4


                                                                                                    2

that the Court issue a curative instruction to the jury prior to the presentation of closing arguments.
Our proposed curative instruction is attached to this letter for the Court’s consideration. We further
request that the Court preclude the defense from making any argument to the jury that Ms. Carroll
had a legal duty to mitigate the damages caused by Mr. Trump’s defamatory statements.

                                          *       *       *

        First, in making arguments to the jury about a duty to mitigate in her opening, Ms. Habba
egregiously misdescribed the law. As the Supreme Court has explained, “[t]he first remedy of any
victim of defamation is self-help—using available opportunities to contradict the lie.” Gertz v.
Robert Welch, Inc., 418 U.S. 323, 344 (1974). If Ms. Habba’s position were correct, then engaging
in such self-help—in other words, publicly stating that defamatory attacks are false—would itself
violate a legal duty. Neither precedent nor common sense supports that claim. And it would be
particularly shocking to hold that survivors of sexual abuse must keep silent even as their abuser
defames them publicly.

         Ms. Habba’s statements to the jury that Ms. Carroll owed a duty to mitigate or minimize
damages are also contrary to New York law as articulated by the state’s highest court—which has
held that no such duty exists in cases of defamation involving actual malice. As Your Honor
correctly noted, in addressing a claim for libel, the New York Court of Appeals held more than
100 years ago that there is no “obligatory burden” for victims of defamation and other intentional
torts to avert the “injurious consequences” of a tortfeasor’s misconduct. Den Norske Ameriekalinje
Actiesselskabet v. Sun Printing & Publ’g Ass’n, 226 N.Y. 1, 8-9 (1919). In diversity cases like this
one, where the “relevant state law is established by a decision of the State’s highest court, that
decision is binding on the federal courts.” In re Gen. Motors LLC Ignition Switch Litig., 339 F.
Supp. 3d 262, 275 (S.D.N.Y. 2018). Accordingly, Den Norske is dispositive on this point.

         Moreover, the rule that victims of intentional torts involving malicious conduct have no
duty to mitigate is well-established in New York law, and Den Norske continues to be applied by
New York courts. See, e.g., Kane v. SDM Enterprises, Inc., 125 A.D.3d 939, 940 (2nd Dep’t 2015)
(no duty to mitigate in cases of “reckless and intentional conduct” (citing Den Norske, 226 N.Y.
at 9)); Theroux v. Resnicow, 194 N.Y.S.3d 922 (N.Y. Sup. Ct. 2023) (explaining, under New York
law, that “no duty exists to mitigate damages resulting from intentional conduct”); accord
Ridgeview Partners, LLC v. Entwistle, 354 F. Supp. 2d 395, 402 (S.D.N.Y. 2005). Although two
federal cases appeared to suggest otherwise in the 1980s, those opinions are unreasoned,
unconvincing, and (of course) not precedential. See Weldy v. Piedmont Airlines, No. 88 Civ. 628,
1989 WL 158342, at *5 (W.D.N.Y. Dec. 22, 1989), rev’d, 985 F.2d 57 (2d Cir. 1993); Wachs v.
Winter, 569 F. Supp. 1438, 1446 (E.D.N.Y. 1983). Thus, the rule provided by Den Norkse controls
in New York—and reflects an understanding that is echoed in many other states. See, e.g., Bedford
v. Audrain Cnty. Motor Co., Inc., 631 S.W.3d 663, 674 (Mo. Ct. App. 2021) (Montana law); DZ
Bank AG v. Connect Ins. Agency, Inc., No. 14 Civ. 5880, 2016 WL 631574, at *23 (W.D. Wash.
Feb. 16, 2016) (Washington law); Wachovia Bank of Ga., N.A. v. Namik, 620 S.E.2d 470, 473
(Ga. Ct. App. 2005) (Georgia law); Johnson v. City of Saline, 151 F.3d 564, 573-74 (6th Cir. 1998)
(Michigan law). Following a diligent search, we are unaware of any New York decision holding
that victims of defamation with actual malice are obliged to mitigate their damages.
         Case 1:20-cv-07311-LAK Document 273 Filed 01/19/24 Page 3 of 4


                                                                                                    3

        We have discovered a handful of sources—none controlling—suggesting that victims of
intentional torts do not have a duty to mitigate, but nonetheless have a general duty to avoid
“intentionally or heedlessly” exacerbating their injuries. Clark Operating Corp. v. Yokley, 120
Misc. 2d 631, 633 (N.Y. City Civ. Ct. 1983); see also Trepel v. Dippold, No. 04 Civ. 8310, 2006
WL 3054336, at *7 (S.D.N.Y. Oct. 27, 2006) (citing Clark Operating, 120 Misc. 2d 631). Those
cases are inapposite for several reasons. For starters, none of them involved defamation, whereas
Den Norkse speaks directly to the cause of action at issue in this case. Moreover, the principle in
those cases is not the argument that Mr. Trump actually made to the jury, and in that respect it is
waived, prejudicial, and not properly raised at this exceedingly late juncture. Finally, given that
the U.S. Supreme Court has recognized the propriety of defamation plaintiffs speaking out against
false and defamatory statements, it would be startling to hold that Ms. Carroll violated the duty
described in Clark Operating (a state trial court opinion) by publicly disputing Mr. Trump’s lies.

         Second, even assuming Ms. Habba’s argument were a correct statement of the law (and it
is not), Mr. Trump waived a “mitigation of damages” defense by failing to raise it in his Answer
or in the Joint Pretrial Order. ECF 171; ECF 225. In circumstances where it properly applies,
“[f]ailure to mitigate damages is an affirmative defense.” Travellers Int’l, A.G. v. Trans World
Airlines, Inc., 41 F.3d 1570, 1580 (2d Cir. 1994). The general rule—as Mr. Trump has seen in this
very case—“is that a failure to plead an affirmative defense results in a waiver.” Id. (citing Fed. R.
Civ. P. 8(c)); accord Carroll v. Trump, 88 F.4th 418, 430 (2d Cir. 2023). Likewise, an affirmative
defense that “is not alleged in the Pre-Trial Order is generally deemed waived.” Carlson v.
Northwell Health Inc., No. 20 Civ 9852, 2022 WL 1304453, at *1 (S.D.N.Y. May 2, 2022).

       As Your Honor previously noted, Mr. Trump “has slow-rolled his defenses, asserting or
inventing a new one each time his prior effort” has failed. Carroll v. Trump, No. 20 Civ. 7311,
2023 WL 4393067, at *12 (S.D.N.Y. July 5, 2023), aff’d, 88 F.4th 418 (2d Cir. 2023). Mr. Trump
did not raise “failure to mitigate” during his prior attempts to assert new, unpleaded defenses.
Accordingly, Ms. Carroll—who designed her litigation, discovery, and trial strategy based on an
understanding of claims and defenses properly at issue—would be substantially prejudiced by
allowing Mr. Trump to assert a new affirmative defense mid-trial. Morgenstern v. Cnty. of Nassau,
No. 4 Civ. 58, 2009 WL 5103158, at *2 (E.D.N.Y. Dec. 15, 2009) (finding “no question” that
permitting defendant to raise unpleaded mitigation defense mid-trial would prejudice plaintiff);
Ragusa v. United Parcel Serv., No. 5 Civ. 6187, 2008 WL 4200288, at *2 (S.D.N.Y. Sept. 12,
2008) (denying leave to amend “just days before trial” where need to prepare would be prejudicial).

        In response, Mr. Trump may claim that Ms. Carroll was required to object to Mr. Trump’s
unpleaded affirmative defense during opening statements, rather than in post-argument briefing.
But courts routinely grant written requests for curative instructions that follow argument. See, e.g.,
Am. Tech. Ceramics Corp. v. Presidio Components, Inc., No. 14 Civ. 6544, 2020 WL 5658779, at
*7 (E.D.N.Y. Sept. 23, 2020); United States v. Pizzaro, No. 16 Cr. 54 (S.D.N.Y. January 25, 2016),
ECF 102, 110 at 115-16. And the Second Circuit has cautioned that courts should be cautious in
inferring consent to unpleaded issues, “particularly in light of the notice demands of procedural
due process.” Grand Light & Supply Co. v. Honeywell, Inc., 771 F.2d 672, 681 (2d Cir. 1985).

        Finally, if, despite the above, the Court were to allow Mr. Trump to persist in a “duty to
mitigate” defense, he would bear the “burden to establish not only that [Ms. Carroll] failed to make
diligent efforts to mitigate [her] damages . . . , but also the extent to which such efforts would have
         Case 1:20-cv-07311-LAK Document 273 Filed 01/19/24 Page 4 of 4


                                                                                                4

diminished [her] damages.” Int’l Cards Co., Ltd. v. MasterCard Int’l Inc., No. 13 Civ. 2576, 2016
WL 7009016, at *5 (S.D.N.Y. Nov. 29, 2016). In assessing that burden, the parties and the jury
would face profoundly confusing questions. In some cases, a duty to mitigate could conceivably
require a defamation victim to remain silent. In other cases, however, it could conceivably require
a defamation victim to speak publicly and to mitigate harm by disputing defamatory statements.
Assessing in each case whether speaking out or staying silent could have best mitigated damages
would be an exceptionally difficult task even for a trained PR professional; to our knowledge, and
consistent with the cases above, there is no precedent or practice for such inquiries in New York.
And there can be no question that the defense has failed to offer any evidence—expert or
otherwise—as to what they believe would have been appropriate mitigation of damages here.

        Accordingly, and in light of Ms. Habba’s argument to the jury, we would request that a
curative instruction be given to the jury in substantially the form appended hereto. Independently,
we would also request that the Court issue an order precluding the defense from making any
argument to the jury in summation, either expressly or impliedly, that Ms. Carroll had a legal duty
to mitigate the damages caused by Mr. Trump’s defamatory statements in June 2019.



                                                                    Respectfully submitted,



                                                                    Roberta A. Kaplan

cc:    Counsel of Record
